






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00641-CR







Jeffery Lee Hoyle, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF RUNNELS COUNTY, 119TH JUDICIAL DISTRICT


NO. 5543, HONORABLE THOMAS J. GOSSETT, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



A jury found appellant Jeffery Lee Hoyle guilty of delivering methamphetamine.  See
Tex. Health &amp; Safety Code Ann. § 481.112(a), (c) (West 2003).  The jury assessed punishment,
enhanced by a previous felony conviction, at ninety-nine years' imprisonment.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573&nbsp;S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  Appellant also filed a pro se brief.

We have reviewed the record, counsel's brief, and the pro se brief.  We agree with
counsel that the appeal is frivolous and without merit.  We find nothing in the record that might
arguably support the appeal.  See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005). 
Counsel's motion to withdraw is granted.

The judgment of conviction is affirmed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Affirmed

Filed:   March 10, 2008

Do Not Publish


